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      EXHIBIT 8
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                                      EXHIBIT 8

                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



UMG RECORDINGS, INC., CAPITOL    Civil Action No. l:17-cv-00365-LY
RECORDS, LLC, WARNER BROS.
RECORDS INC., SONY MUSIC         NON-PARTY RESPONDENT IP
ENTERTAINMENT, ARISTA RECORDS ECHELON'S OBJECTIONS TO
LLC, ARISTA MUSIC, ATLANTIC      DEPOSITION SUBPOENA AND
RECORDING CORPORATION, CAPITOL DOCUMENT REQUESTS
CHRISTIAN MUSIC GROUP, INC.,
ELEKTRA ENTERTAINMENT GROUP
INC., FONOVISA,INC., FUELED BY
RAMEN LLC, LAFACE RECORDS LLC,
NONESUCH RECORDS INC., RHINO
ENTERTAINMENT COMPANY,
ROADRUNNER RECORDS, INC., ROC-A-
FELLA RECORDS, LLC,TOOTH & NAIL,
LLC, and ZOMBA RECORDING LLC,

                  Plaintiffs,

            vs.

GRANDE COMMUNICATIONS
NETWORKS LLC; and PATRIOT MEDIA
CONSULTING, LLC,

                  Defendants.




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                                                                              91
     NON-PARTY RESPONDENT IP        ECHELON'S OBJECTIONS   TO    DEPOSITION   SUBPOENA   A
                                   DOCUMENT REQUESTS
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TO ALL PARTIES AND THEIR ATTORNEYS                              OF      RECORD:

            IP Echelon Pty, Ltd ("IPE")    hereby       objects
                                                            the subpoena
                                                                  to     for production of             business

records (the "Subpoena")       served on Defendant
                                          it  by Grande Communications Networks                            LLC,         et

al. ("Grande").

                                    OBJECTIONS TO SUBPOENA

            IPE objects to the Subpoena the
                                         on following grounds:

                                          GENERAL OBJECTIONS
            1.    Responding Non-Party IPE objects          to entirety
                                                                 the    of the Subpoena
                                                                                     on the ground

that Grande impermissibly failed to         pay     the and
                                                          proper
                                                            adequate witness fees
                                                                               for attendance and

reasonable mileage. Fed. R. P.
                            Civ.
                               Rule 45(b)(1) (providing in
                                                        pertinent part that"[sjerving a

subpoena requires delivering copy
                              a to the named person
                                                 and, if the subpoenarequires that

person's attendance, tendering the
                                fees for 1day's attendance and the mileage allowed
                                                                               by law");

CF& I Steel Corp, v. Mitsui & Co.            (USA),       713        F.2d      494,    496(failure
                                                                                            (9th to Cir.        1983)

simultaneously tender witness fees         invalidates      the        service);      In
                                                                                       330 F.3d
                                                                                           re Dennis,
                                                                                                696, 705 (5th

Cir. 2003) (holding that failure
                             to tender "reasonably estimated"
                                                            mileage fees, even just
                                                                               if a few

dollars, along with witness fees, warrants
                                     quashing of subpoena); 28 U.S.C.
                                                                  §1821 (providing for

statutory witness fee of $40 per day plus              travel     allowances       and       accommodation         fees).

here, the Subpoena conceivably requires           Responding           Non-Party       IPE     to     send       people      fro

Australia to Los Angeles, Grande knew             the       required
                                                           fees would amount to thousands not
                                                                                           (if tens

of thousands) of dollars, but they failed         to     pay anything.
            2.    Responding Non-Party IPE objects          to    the       entirety
                                                                             of the Subpoenaon the ground

that Grande failed to comply with Federal Rule                    of         Civil
                                                                              45(d)(1),
                                                                                    Procedure
                                                                                        which provides: "A

party or attorney responsible
                           for issuing and serving subpoena
                                                    a       must take reasonable
                                                                              steps to

avoid imposing undue burden or expense person
                                         on subject
                                              a     to the subpoena.The court forthe
district where compliance is       required must enforce
                                                     duty and
                                                           thisimpose an appropriate sanction

—which may include lost earnings and reasonable                      attorney's
                                                                           - on a party
                                                                                    feesor attorney who



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     NON-PARTY RESPONDENT IP ECHELON'S OBJECTIONS                               TO       DEPOSITION        SUBPOENA           A
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fails to comply." Responding Non-Party IPE is entitled to an                order      protecting
                                                                                        (and its           it

representative or representatives) from       significant expense
                                                             complying
                                                                   in with the Subpoena. Fed.
R. Civ. P. Rule 45(d)(2)(ii).

            3.   IPE objects generally to the Subpoena
                                                   in that Grande's definitions
                                                                              of the
"Universal Plaintiffs,""Sony Plaintiffs,""Warner Plaintiffs,""RIAA," and "Patriot"
                                                                                 are

excessively vague, overbroad, and ambiguous           as unintelligible,
                                                           to     be     as the definitions include

"any subsidiary, predecessors,successors, affiliates, anypresent or former agent, employee,
representative, director, officer, or any     other    person purporting
                                                               acting to oract on its behalf."

These media companies and association         encompass      a       potentially        infinite
                                                                                            responsive
                                                                                                    amount               of

entities including labels, sublabels, distribution     companies,      joint        ventures,     artist
                                                                                                   imprints, side

deals, vanity labels, loan out corporations,     holding companies,
                                                                It is impossible
                                                                       etc.      to answer as

to these potentialentities without amore definite and finite list of        the     entities      covered.

            4.   IPE objects to the entirety of Subpoena
                                                 the     on the ground that
                                                                        it impermissibly

seeks to compel IPE to appear and testify
                                     violation
                                            in of the territorial limitations
                                                                           set forth in the

Federal Rules of Civil Procedure.
                               While Non-Party IPE maintains                offices    in       California
                                                                                                      in         and

Australia, IPE's     person most knowledgeable        with   respect
                                                                 categories
                                                                      to    the
                                                                            in the
                                                                                 Subpoena is

based in Australia, which is      more than     100 miles         outside      of Los          Angeles,
                                                                                                Fed. R.          California.

Civ. P. Rule 45(c)(1)(A) (providing subpoenas
                                    that      issued to nonparty witnesses                      for    hearings
                                                                                                       and

depositions can only require thatperson
                                    a travel within 100 miles               of where
                                                                               "the person resides, is

employed, or regularly transacts business       in    person");      Estate ofPalestinian
                                                                                    Klieman
                                                                                          Authority,
                                                                                                 v.

293 F.R.D. 235, 238-240 (D. D.C. 2013)          (holding     that     subpoena          to       nonparty             entity

mile nonparty limit where entity organized       and     headquartered         in      a          foreign             country

employ anyone suitable to       serve as    FRCP      30(b)(6) representative           within even100-mile                   limit

though it had a satellite office
                            in the United States); Davies Innovations Inc.Strum,
                                                                            v.   Ruger &

Co., 7nc., No. 3:15-CV-282, 2016 WL 8114127, at(S.D.
                                                   *9Tex. July 31,2016) (granting a
motion to transfer because key non-party        witnesses    were      located        outside         of        the            100
provided by Rule 45(c), even though         some      witnesses     were       located
                                                                                    100within    the
                                                                                        mile radius).



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     NON-PARTY RESPONDENT        IP    ECHELON'S  OBJECTIONS                TO        DEPOSITION                SUBPOENA
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"A court deciding whether deposition
                           a         should be modified or quashed under                           [rule     45(c)]       need

not decide whether the witness is        subject          to    the     forum's          jurisdiction.       'In                   co

party witness may be commanded by subpoena   to ... the court does not consider
                                         appear                           the
forum state'spower or the notice the
                                 to witness, but only the burden
                                                             to the witness of being

required to physically appear.'"Halliburton Energy Servs., Inc. v.M-I, LLC, No.H06MC00053,

2006 WL 2663948, at *2 (S.D. Tex.                 Sept.        15,
                                                                Requiring
                                                                     2006).
                                                                          Responding Non-Party IPE to

produce a person most knowledgeable          in Angeles
                                                  Los would subject it undue
                                                                        to   burden,

oppression and expense.

            5.

            6.   Responding Non-Party IPE objects to                   the     entirety
                                                                                     Subpoena
                                                                                        of theon the ground

it presents an undue burden."To determine whether the subpoena prese
                                                               nts an undue burden,
[the Court] consider[s] the following
                                   factors: (1) relevance of
                                                          the information requested; (2)                           the

need of the party for documents;
                      the        (3) the breadth of the document request;                             (4)period
                                                                                                             the         time

covered by the request; (5)      the   particularity           with
                                                                 thewhich
                                                                     party describes the requested

documents; and (6) the burden imposed.
                                   Further, if the person whom
                                                          to   the document request is

made is a non-party,
                  the court may also consider expense
                                              the     and inconvenience to                             the    non­

party." METROPCSv. Isaiah Michael Thomas,
                                       Lorraine Frazin, Movant., No.3.18-MC-29-K-

BN, 2018 WL 2933673, at *7         (N.D. Tex.         June           12,
                                                                     The Subpoena
                                                                           2018). requests irrelevant,

unnecessary, overbroad, and vague       information            and     documents.
                                                                           The Subpoena constitutes an

undue burden because Responding Non-Party
                                      IPE's person(s) most knowledgeable are                                  located         in

Australia and the travel expense       and    burden of           complyingSubpoena
                                                                               with intheLos Angeles

would be substantial.
            7.   To the extent that theSubpoena calls for or
                                                          seeks the disclosure ofconfidential

communications, or information that          is     otherwise           covered
                                                                           attorney-client
                                                                                by the privilege, the

work-product doctrine, or any       other right       or        privilege       recognized    by     California,          Texas,

law, IPE generally object the
                           to Subpoena. IPE will not reveal such information                        where doing          so
would violate the attorney-client privilege         rights        of     its      customers    or clients,            UMG          Re



1074315.1                                           -3-                                                       94
     NON-PARTY RESPONDENT         IP    ECHELON'S OBJECTIONS                       TO    DEPOSITION
                                                                                         SUBPOENA AND
                                       DOCUMENT REQUESTS
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Inc., other Plaintiffs (including Capitol Records, LLC, Capitol               Christian         Music       Group,          Inc.,
Fonovisa, Inc., Rock-A-FellaRecords, LLC, Tooth Nail,
                                                &     LLC, Sony Music
                                                                    Entertainment,

Arista Records LLC, Arista
                        Music, LaFace Records LLC, Zomba                      Recording        LLC,       Warner       Bros.

Records Inc., Atlantic Recording Corporation,        Elektra      Entertainment           Group,          Inc.,    Fueled

                                   Entertainment Company, and Roadrunner Records,
Ramen LLC, Nonesuch Records Inc., Rhino
Inc.), or of third parties.

            8.    IPE objects to the Subpoena its
                                               in entirety because it is           unduly
                                                                                    burdensome and

overbroad as to the scope ofdocuments
                             the      requested and amounts toimproper
                                                                 an    fishing

expedition upon a nonparty toabove-captioned
                              the            action.
            9.    IPE objects tothe Subpoena to the extentrequests
                                                            it     production of documents

which involve Responding Non-Party IPE's
                                     trade secrets and otherwise concern non-public

confidential business information in violation       of       Responding         Party        IPE's
                                                                                                 in its             privacy

private business and financial affairs.
            10.   IPE objects tothe Subpoena tothe extent it requests documents
                                                                            containing

privileged, proprietary, financial, tax    and/or confidential      information               of third
                                                                                                 otherwiseparties            or

seeks to invade the privacy ofd parties.
                                 thir
            11.   IPE objects tothe Subpoena to theextent that its seeks information protected by

the California, Texas, or United States       constitutions, California,         Texas, statutes
                                                                                            or orfederal
                                                                                                    case

law that establish a right of privacy and forbid       the      discovery        and        dissemination         of        confi

sensitive and financial information.
                                   IPE will not reveal such       information          where so
                                                                                              doing
                                                                                                would

violate the privacy rights of customers
                                its     or clients, UMG Recordings other
                                                                    Inc., Plaintiffs

(including Capitol Records, LLC, Capitol       Christian Music          Group,      Inc.,       Fonovisa,         Inc.,      Roc

Fella Records, LLC, Tooth Nail,
                          & LLC, Sony Music Entertainment, Arista
                                                              Records LLC, Arista

Music, LaFaceRecords LLC, Zomba Recording LLC,                 Warner      Bros. Inc.,
                                                                                   Records
                                                                                       Atlantic

Recording Corporation, Elektra Entertainment         Group,     Inc.,     Fueled         by       Ramen           LLC,            N

Records Inc., Rhino Entertainment Company, and            Roadrunner          Records,         Inc.),      or          of
            12.   IPE objects to the Subpoena its
                                               in entirety on the grounds that it information
                                                                                    seeks



1074315.1                                      -4-                                                         95
     NON-PARTY RESPONDENT IP ECHELON'S               OBJECTIONS          TO        DEPOSITION              SUBPOENA
                                     nnriTMENT KEOTTESTS
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that is not relevant to this
                          proceeding or reasonably calculated to                        lead to the           discovery            of
admissible evidence.

            Each General Objection is   hereby expressly incorporated                    by reference of the
                                                                                                         into                     each

following Responses, regardless of whether              it is    repeated.

             RESPONSES AND OBJECTIONS TO MATTERS                                FOR            EXAMINATION

MATTER FOR EXAMINATION NO. 1;
            The processes, procedures, and methods by which                IP-Echelon             monitors             Peer-to-Peer          fil

sharing networks in order identify
                            to     alleged infringers of copyrighted works,                               including            through

use and operation of the IP-Echelon System or any third-party                              software.

RESPONSE TO MATTER FOR EXAMINATION                                   NO. 1:
            IPE incorporates each and every General Objection              as           though      fully           set
                                                                                                                      IPE
                                                                                                                        forth,           herein

objects to this Matter for Examination       to        the seeks
                                                            extentthe itdisclosure of confidential and

proprietary information and/or information protected by the                             attorney-client         privilege           and          t

work-product doctrine. IPE objects to this Matter for Examinationthe to
                                                                      extent that it is overly

broad, not reasonably particularized, and therefore it                    would          be      unduly         burdensome                 and

oppressive and needlessly require IPE
                                  to expend substantial resources in order                               to     comply.
                                                                                                                 IPE

objects to this Matter for Examination
                                  to the extent it seeks information not                            relevant          to the

subject matter of this litigation or reasonably calculated                 to             lead     to         the        discovery

evidence. Responding Non-Party IPE will not be producing                        anyone            to testify.

MATTER FOR EXAMINATION NO.                        2:
            The capabilities and functionality of IP-Echelon
                                                  the        System related to                          monitoring          and

detecting Peer-to-Peer file sharing activity associated            with             a          particular           internet
                                                                                                                        a               subscrib

particular ISP, including but not limited         to the        ability     tointernet
                                                                                    identify
                                                                                       subscriber
                                                                                               an that has

downloaded a copyrighted work and           subsequently provide                a             IP-Echelon
                                                                                                  to the ISP Notice
                                                                                                             that

provides internet service to that internet
                                  same subscriber.


1074315.1                                         ~5~
                                                                                                                       96
     NON-PARTY RESPONDENT          IP ECHELON'S OBJECTIONS                      TO             DEPOSITION               SUBPOENA
                                      QOCTTMENTREQUESTS
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RESPONSE TO MATTER FOR EXAMINATION                                    NO.     2:

            IPE incorporates each and every General           Objection
                                                                    thoughasfully setforth, herein. IPE

objects to this Matter
                    for Examination to the extentseeks
                                                    it the disclosure of confidential
                                                                                  and

proprietary information and/or information           protected attorney-client
                                                                by the         privilege and the

work-product doctrine. IPE objects to this Matter for Examination
                                                            to the extent that it is                         overly

broad, not reasonably particularized, and therefore            it would
                                                                   be unduly burdensome and

oppressive and needlessly require
                               IPE to expend substantial resources in                      order to IPE
                                                                                                      comply.

objects to thisMatter for Examination to the             extent it       seeks     information
                                                                                    not relevant to the

subject matter of this litigation
                               or reasonably calculated to lead todiscovery
                                                                      the   of admissible

evidence. Responding Non-Party IPE will not                be producing        anyone      to       testify.

MATTER FOR EXAMINATION NO. 3:
            The considerations that informed IP-Echelon's              decision(s)
                                                                           to send and continue sending

IP-Echelon Notices to Grande.

RESPONSE TO MATTER FOR EXAMINATION
                                NO. 3:
            IPE incorporates eachand every General Objection though
                                                              as    fully setforth, herein. IPE

objects to this Matter for Examination to extent
                                            the it seeks the disclosure
                                                                     of confidential and

proprietary information and/or information          protected        by the         attorney-client      privilege        and

work-product doctrine. IPE objects to this Matter
                                               for Examination to the
                                                                   extent that it is overly

broad, not reasonably particularized, and therefore             it       would        be unduly       burdensome         and

oppressive and needlessly require IPE         to     expend          substantial          to comply.
                                                                                      resources   in IPE order

objects to this Matter for Examination        to the         extent      it   seeks     information
                                                                                               to the not             relevant

subject matter of this litigation or       reasonably       calculated        to
                                                                               e discovery
                                                                                     lead toof admissible
                                                                                                 th

evidence. Responding Non-Party IPE will not                be producing        anyone      to     testify.




1074315.1                                          -6-                                                       97
     NON-PARTY RESPONDENT IP            ECHELON'S OBJECTIONS                     TO      DEPOSITION            SUBPOENA
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MATTER FOR EXAMINATION NO. 4:

            The considerations and negotiations that       resulted
                                                                 IP-Echelon
                                                                     in     associating with the

RIAA and/or its members for purposes
                                   sending
                                      of IP-Echelon Notices to Grande.

RESPONSE TO MATTER FOR EXAMINATION                                   NO. 4:
            IPE incorporates each and every General Objection                 as          though
                                                                                            forth, herein.
                                                                                                    fully IPEset

objects to this Matter for Examination
                                  to the extent it seeks the disclosure
                                                                      confidential
                                                                         of        and

proprietary information and/or information protected             by the              attorney-client          privilege      and

work-product doctrine. IPE objects to this Matter for Examination
                                                            to the extent that is
                                                                               it overly

broad, not reasonably particularized, and         therefore     it       would        be       unduly        burdensome       and

oppressive and needlessly require
                               IPE to expend substantial resources in order to                               IPE
                                                                                                              comply.

objects to this Matter for Examination to
                                        extentthe
                                                it seeks information not relevant to                            the

subject matter of this litigation or reasonably calculated               to        lead       to admissible
                                                                                                    the           discovery        of

evidence. Responding Non-Party IPE will not               be    producing          testify.
                                                                                    anyone      to

MATTER FOR EXAMINATION NO.                        5:
            IP-Echelon's knowledge regarding Grande        and/or Patriot's                   alleged liability       for     acts

copyright infringement by Grande Subscribers.

RESPONSE TO MATTER FOR EXAMINATION                                   NO.      5:
            IPE incorporates each and every General Objection                as      though          fully    IPE
                                                                                                               set forth,          her

objects to this Matter for Examination
                                     the to
                                         extent it seeks the
                                                          disclosure of confidential and

proprietary information and/or information protected                 bythe          attorney-client          privilege and     the

work-product doctrine. IPE objects to this Matter for Examination                    to       the it extent
                                                                                                     is overlythat

broad, not reasonably particularized,
                                   and therefore it would be unduly burdensome and

oppressive and needlessly require IPE        to        expend   substantialin order
                                                                               resources
                                                                                    to comply.IPE

objects to this Matter for      Examination
                                          the extent
                                              to     it seeks information relevant
                                                                          not      to the



1074315.1                                         -7-                                                           98
     NON-PARTY RESPONDENT          IP ECHELON'S         OBJECTIONS            TO          DEPOSITION SUBPOENA                 AND
                                      nnnrivrFNT        REOTIESTS
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subject matter of this litigation
                               or reasonably calculated to lead todiscovery
                                                                      the   of admissible

evidence. Responding Non-Party IPE will not be producing                anyone          to         testify.

MATTER FOR EXAMINATION                     NO. 6:
            The development, testing, and evaluation of the software
                                                               that embodies the IPEchelon

System.

RESPONSE TO MATTER FOR EXAMINATION
                                 NO. 6:
            IPE incorporates each and every General Objection           as        though      herein.
                                                                                               fully IPE
                                                                                                       set          forth,

objects to this Matter for Examination to          the it extent
                                                          seeks the disclosure of confidential and

proprietary information and/or       information     protected by the         attorney-client          privilege    and

work-product doctrine. IPE objects to this Matter for Examination
                                                             to the extent thatit is overly

broad, not reasonably particularized,       and therefore it      would        be       unduly        burdensome         and

oppressive and needlessly require         to
                                          IPEexpend substantial resources in order            to      comply.
                                                                                                       IPE

objects to this Matter for Examination
                                   to the extent it seeks
                                                       information not relevant to the

subject matter of this litigation reasonably
                                   or        calculated to lead to the              discovery       of admissible

evidence. Responding Non-Party IPE will not be producing                     anyone      to        testify.

MATTER FOR EXAMINATION                     NO.     7:
            The basis for IP-Echelon's    assertion(s) that a     Grande
                                                                  particular
                                                                          Subscriber has committed

copyright infringement or infringed         one copyrighted
                                                  of the    works belonging to                an     RIAA

member.

RESPONSE TO MATTER FOR EXAMINATION                              NO. 7:
            IPE incorporates each and every General Objection       as fullythough
                                                                              set forth, herein.IPE

objects to thisMatter for Examination the
                                      to extent it seeksthe disclosure of confidential and

proprietary information and/or information          protected by the          attorney-client          privilege    and        th

work-product doctrine. IPE objects to this
                                        Matter for Examination to                 the   extent
                                                                                         that it is overly



1074315.1                                          -8-                                                        99
     NON-PARTY RESPONDENT           IP    ECHELON'S OBJECTIONS               TO       DEPOSITION              SUBPOENA         A
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broad, not reasonably particularized, and therefore               it       would be unduly             burdensome             and

oppressive and needlessly require IPE        to          expend        substantial     resources           in IPE order             to

objects to this Matter for Examination        to     theit seeks
                                                             extent
                                                                 information not relevant to the

subject matter of this litigation or     reasonably       calculated        to
                                                                             the lead
                                                                                  discovery
                                                                                        to of admissible

evidence. Responding Non-Party IPE will not               be producing          anyone        to            testify.

MATTER FOR EXAMINATION NO. 8:
            Any values, conditions, or other quantifiable          measures IP-Echelon
                                                                             that the System

detects or utilizes in order to identify an         alleged       infringer     or send            a          IP-Echelon               Notic

RESPONSE TO MATTER FOR EXAMINATION
                                NO. 8:
            IPE incorporates each and every General Objection as                     though        fully         set
                                                                                                                  IPEforth,         herein

objects to this Matter for Examinationthe to
                                           extent it seeks the
                                                            disclosure of confidential and

proprietary information and/or information          protected          by
                                                                        torney-client
                                                                            the    at privilege and the

work-product doctrine. IPE objects to thisMatter for Examination to
                                                                  the extent that itis overly

broad, not reasonably particularized,     and therefore           it would be unduly                   burdensome                and

oppressive and needlessly require IPE         to     expend            substantialin order to comply.IPE
                                                                                      resources

objects to this Matter for Examinationthe
                                        to extent it seeks information not                     relevant
                                                                                                     the to

subject matter of this litigation reasonably
                                    or       calculated to lead to the                  discovery           of     admissible

evidence. Responding Non-Party IPE         will not        be producing anyone                to       testify.

MATTER FOR EXAMINATION NO. 9:
            IP-Echelon's knowledge of actual, potential,          or alleged flaws,            weaknesses,               deficiencies,

inefficiencies, errors, lack or absence      of     features
                                                     or functionality, performance issues,

modifications or improvements needed,         or any          other        problem      associated
                                                                                             IPEchelon
                                                                                                     with                  the

System and IP-Echelon Notices, including           but      not        the
                                                                        limited
                                                                           IP-Echelon
                                                                                  to System's               ability
                                                                                                                to

detect and identify activity associated     with copyright              infringement.



1074315.1                                          -9-                                                             100
     NON-PARTY RESPONDENT IP           ECHELON'S      OBJECTIONS                TO       DEPOSITION                 SUBPOENA              A
                                      TinrTTivnr.NTREOIJESTS
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RESPONSE TO MATTER FOR EXAMINATION                              NO. 9:
            IPE incorporates each and every General Objection              as       though
                                                                                        forth, fully
                                                                                               herein.
                                                                                                     setIPE

objects to this Matter for Examination
                                  to the extent it seeks
                                                      the disclosure of confidential and

proprietary information and/or information protected            by the           attorney-client
                                                                                               and the
                                                                                                    privilege

work-product doctrine. IPE objects to thisMatter for Examination tothe extent thatit is overly

broad, not reasonably particularized, and therefore          it would      be       unduly        burdensome             and

oppressive and needlessly require IPE       to expend
                                                substantial resources in order to                      comply.
                                                                                                         IPE

objects to thisMatter for Examination to the extent
                                               it seeks informationnot relevant to the

subject matter of this litigation or reasonably calculated totothe discovery
                                                                    lead     of admissible

evidence. Responding Non-Party IPE will not          be producing               anyone       to        testify.

MATTER FOR EXAMINATION NO.                    10:
            IP-Echelon's knowledge of IP-Echelon Notices
                                                   that were inaccurate, incomplete, or

otherwise improperly sent to a        recipient ISP.

RESPONSE TO MATTER FOR
                    EXAMINATION NO. 10:
            IPE incorporates each and every General Objection              as      though         fully    IPE
                                                                                                            set        forth,       he

objects to this Matter for Examination to the extent             it    seeks           the    disclosure
                                                                                                     and          of        confiden

proprietary information and/or information protected by the                      attorney-client          privilege         and     th

work-product doctrine. IPE objects to this Matter Examination
                                                  for         tothe extent that it overly
                                                                                    is

broad, not reasonably particularized, and therefore     it       would burdensome
                                                                        be unduly and

oppressive and needlessly require IPE       to expend substantial                resources        in      IPEorder to           comply

objects to this Matter for     Examination extent
                                           to the it seeks information
                                                                     not relevant to the

subject matter of this litigation or reasonably calculated            to        lead         to
                                                                                             of admissible
                                                                                                   the              discovery

evidence. Responding Non-Party IPE will not be          producing               anyone       to    testify.




1074315.1                                     -10-                                                            101
     NON-PARTY RESPONDENT IP ECHELON'S OBJECTIONS                           TO           DEPOSITION            SUBPOENA              A
                             DOCUMENT REQUESTS
Case 2:18-mc-00125 Document 1-9 Filed 09/14/18 Page 13 of 29 Page ID #:121




MATTER FOR EXAMINATION NO.                            11:
            IP-Echelon's receipt of communications from             ISPs        identifying      legal      and/or      factual      is

with IP-Echelon Notices and/or the        IP-Echelon System.

RESPONSE TO MATTER FOR EXAMINATION
                               NO. 11:
            IPE incorporates each and every       General Objection             as         though
                                                                                           set forth, herein.
                                                                                                      fully IPE

objects to this Matter for
                       Examination to the extent
                                               it seeks the disclosure of confidential
                                                                                  and

proprietary information and/or information             protected by the              attorney-client        privilege      and

work-product doctrine. IPE objects to this Matter
                                               for Examination to the extent
                                                                        that it is overly

broad, not reasonably particularized,     and therefore it             would           be      unduly burdensome           and

oppressive and needlessly require       IPEexpend substantial resources order
                                        to                              in    to comply. IPE

objects to this Matter
                    for Examination to the extent it              seeks
                                                                   information not relevant toe th

subject matter of this litigation or reasonably calculated to to
                                                               the discovery
                                                                      lead   of admissible

evidence. Responding Non-Party IPE will not be                   producing           anyone     to      testify.

MATTER FOR EXAMINATION                   NO. 12:
            IP-Echelon's actions or efforts to        address, attend to,             or      remedy       actual,      potential,

alleged issues or problems with the        IP-Echelon System               or         IP-Echelon         Notices.

RESPONSE TO MATTER
                 FOR EXAMINATION NO. 12:
            IPE incorporates each and every General Objection
                                                           though
                                                               as fully set forth,
                                                                                herein. IPE

objects to this Matter for Examination
                                  to the extent it seeks the
                                                          disclosure of confidential and

proprietary information and/or information            protected by the                attorney-client       privilege      and       t

work-product doctrine. IPE objects to this Matter for Examination
                                                              to the extent that it is overly

broad, not reasonably particularized,     therefore
                                          and       it would be unduly burdensome                          and

oppressive and needlessly require       IPE      to         expend substantial order
                                                                                 resources
                                                                                     to comply.
                                                                                             inIPE

objects to this Matter for Examinationthe extent
                                          to     it seeks information not                        relevant
                                                                                                      the to



1074315.1                                         -11-                                                        102
     NON-PARTY RESPONDENT          IP ECHELON'S             OBJECTIONS          TO         DEPOSITION            SUBPOENA         AN
                                      T4r\r*I!MT?MT
                                                 RVOTTESTS
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subject matter of this litigation
                               or reasonably calculated to lead to the                  discovery
                                                                                              admissible
                                                                                                    of

evidence. Responding Non-Party IPE will not                be     producing        anyone    to       testify.

MATTER FOR EXAMINATION NO. 13:
            All business relationships and associations between                 IP-Echelon   and       any         of   the

RESPONSE TO MATTER FOR
                     EXAMINATION NO. 13:
            IPE incorporates each and
                                    every General Objection as though fully                  set forth,
                                                                                                 herein. IPE

objects to this Matter for Examination
                                  to the extent it seeks the
                                                          disclosure of confidential
                                                                                   and

proprietary information and/or information          protected
                                                            the attorney-client
                                                                 by             privilege and the

work-product doctrine. IPE objects to this Matter for Examination
                                                            to the extent that it overly
                                                                                  is

broad, not reasonably particularized, and therefore               it      would be unduly             burdensome         and

                                   to expend substantial resources order
oppressive and needlessly require IPE                              in    to comply. IPE

objects to thisMatter for Examination to the          extent      it      seeks     not
                                                                                    information
                                                                                        relevant to the

subject matter of this litigation or reasonably           calculated       to lead
                                                                              discovery
                                                                                    to ofthe
                                                                                          admissible

evidence. Responding Non-Party IPE will not                be     producing        anyone    to       testify.

MATTER FOR EXAMINATION NO. 14:
            All business relationships and associations         between IP-Echelon           and       the          RIAA.

RESPONSE TO MATTER
                 FOR EXAMINATION NO. 14:
            IPE incorporates each and every General             Objection
                                                                     thoughasfully setforth, herein. IPE

objects to this Matter for      Examination   to     the        extent     it      seeks
                                                                                     of confidential
                                                                                            the     disclosure
                                                                                                     and

proprietary information and/or information          protected           by the      attorney-client      privilege          and     t

work-product doctrine. IPE objects to this Matter for Examination extent
                                                                  to the that it is overly

broad, not reasonably particularized,     and therefore            it      would       be unduly        burdensome            and

oppressive and needlessly require IPE         to     substantial
                                                      expend     resources in order to                comply.
                                                                                                        IPE

objects to this Matter for      Examination   to     the seeks
                                                            extent
                                                               information
                                                                     it    not relevant to                   the



1074315.1                                          -12-                                                      103
     NON-PARTY RESPONDENT IP            ECHELON'S OBJECTIONS                      TO     DEPOSITION              SUBPOENA
                                       DOCUMENT REQUESTS
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subject matter of this litigation or reasonably calculated                    to         lead   to     the        discovery         of

evidence. Responding Non-Party IPE will not be producing                           anyone       to    testify.

MATTER FOR EXAMINATION NO.                        15:
            The compensation, remuneration, or other      forms           of that
                                                                               payment
                                                                                  IP-Echelon has received

or is entitled to receive, if any, directly or          indirectly
                                                           conjunction
                                                                     in with alegal proceeding

against Grande and/or Patriot.

RESPONSE TO MATTER FOR EXAMINATION                                      NO.        15:
            IPE incorporates each and every General       Objection             asfully though
                                                                                         set forth, herein.IPE

objects to this Matter for Examination
                                  to the extent it seeks the
                                                         disclosure of confidential and

proprietary information and/or information protected                   by the            attorney-client      privilege       and        th

work-product doctrine. IPE objects to this Matter
                                               for Examination to the extent itthat
                                                                                 is overly

broad, not reasonably particularized, and        therefore        it       would          be     unduly      burdensome         and

oppressive and needlessly require IPE       to         expend                   in order
                                                                       substantial       to comply. IPE
                                                                                     resources

objects to this Matter for Examination to
                                       extentthe
                                              it seeks information not relevant
                                                                           to the

subject matter of this litigation or reasonably calculated                   the
                                                                             to discovery
                                                                                    lead oftoadmissible

evidence. Responding Non-Party IPE will not             be producing               anyone       to     testify.

MATTER FOR EXAMINATION NO.                       16:
            All communications between IP-Echelon       and        TorrentFreak.com              (including        but    not

limited to Ernesto Van der Sar) regarding fake               or        spoofed      infringement           notices,       including

reflected in the June 24, article
                          2016 (https://torrentfreak.com/piracy-phishing-scam-targets-u-

sisps-subscribers-160624/), attached as     Exhibit
                                                hereto.1

RESPONSE TO MATTER FOR EXAMINATION                                     NO.         16:
            IPE incorporates each and every General          Objection
                                                                  thoughasfully set forth, herein.
                                                                                                IPE

objects to this Matter for Examination to
                                        extentthe
                                               it seeks the disclosure
                                                                   of confidential and



1074315.1                                     -13-                                                                104
     NON-PARTY RESPONDENT         IP ECHELON'S  OBJECTIONS                         TO       DEPOSITION            SUBPOENA               A
                                     DOCUMENT REQUESTS
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proprietary information and/or information
                                       protected by the attorney-client privilege                       and the

work-product doctrine. IPE objects to this Matter
                                              for Examination to the extent t ittha
                                                                                  is overly

broad, not reasonably particularized, and           therefore it      would       be       unduly burdensome                and

oppressive and needlessly require IPE          to     expend substantial          resourcescomply.
                                                                                               in IPE
                                                                                                    order              to

objects to this Matter for      Examination     to      the extentinformation
                                                                     it   seeks
                                                                              not relevant to the

subject matter of this litigation or reasonably calculated
                                                  to lead to the discovery of admissible

evidence. Responding Non-Party IPE will not be               producing        anyone
                                                                               testify.    to

MATTER FOR EXAMINATION                   NO.     17:
            IP-Echelon's knowledge of fake      or spoofed infringement
                                                                 notices, including but not

limited to fake or spoofed IP-Echelon          Notices as such
                                                           the notice reflected in
                                                                                Exhibit 1, and any

investigation(s) into such notices.

RESPONSE TO MATTER FOR EXAMINATION                            NO.       17:
            IPE incorporates each and every General Objection           as fully though
                                                                                 set forth, herein.IPE

objects to this Matter for Examination         extent
                                               to     the
                                                       it seeks thedisclosure of confidential and

proprietary information and/or information protected               by the      attorney-client          privilege and            the

work-product doctrine. IPE objects to this
                                         Matter for Examination to
                                                                 the extent that it
                                                                                 is overly

broad, not reasonably particularized,     and therefore it            would       be      unduly        burdensome           and

oppressive and needlessly require       IPE
                                          expend
                                             to substantial resources in                order    to     IPE
                                                                                                        comply.

objects to this Matter for      Examination
                                          the .extent
                                                to it seeks information
                                                                      not relevant to the

subject matter of this litigation or reasonably calculated              to      lead      to admissible
                                                                                                 the             discovery

evidence. Responding Non-Party IPE will not be               producing        anyone       to        testify.

MATTER FOR EXAMINATION                  NO. 18:
            IP-Echelon's use of digital signatures using the          PGP       protocol        on       IP-Echelon          Notic

the reasons for their use, including but not limited          to     the       statement        in          Exhibit          1



1074315.1                                        -14-                                                       105
     NON-PARTY RESPONDENT          IP ECHELON'S  OBJECTIONS                  TO        DEPOSITION               SUBPOENA           A
                                      DOCUMENT REQUESTS
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signed with PGP for ISPs to check authenticity").

RESPONSE TO MATTER FOR EXAMINATION 18:
                                    NO.
            IPE incorporates each and every General Objection                as     though        fully set IPE
                                                                                                              forth,          herein.

objects to this Matter for Examination        to
                                              extent
                                                 the it seeks thedisclosure of confidential and

proprietary information and/or information         protected        by
                                                                    attorney-client
                                                                         the        privilege and the

work-product doctrine. IPE objects to this Matter for Examination
                                                            to the extent that it overly
                                                                                   is

broad, not reasonably particularized, and therefore            it       would       be unduly        burdensome             and

oppressive and needlessly require IPE        to     expend         substantial      resources
                                                                                    order       in IPE
                                                                                          to comply.

objects to this Matter for Examinationthe to
                                          extent it seeks information not relevant
                                                                                the to

subject matter of this litigation or reasonably calculated                to discovery
                                                                               lead toof admissible
                                                                                          the

evidence. Responding Non-Party IPE will not              be        producingto testify.
                                                                               anyone

MATTER FOR EXAMINATION NO. 19:
            The substance of the documents produced in                response         to Attachment        B.

RESPONSE TO MATTER FOR EXAMINATION
                                NO. 19:
            IPE incorporates each and every General Objection                as        though
                                                                                           forth,fully
                                                                                                  herein. set
                                                                                                           IPE

objects to this Matter for     Examination    to the seeks
                                                      extentthe itdisclosure of confidential and

proprietary information and/or information        protected         by the        attorney-client      privilege        and       th

work-product doctrine. IPE objects to this Matter for Examination to
                                                                   extent the
                                                                           that it is overly

broad, not reasonably particularized, and therefore           it       would burdensome
                                                                              be unduly and

oppressive and needlessly require IPE        to expend             substantial      resourcescomply.
                                                                                                in IPE
                                                                                                     order             to

objects to this Matter for Examinationthe to
                                          extent it seeks information relevant
                                                                      not      to the

subject matter of this litigation or reasonably calculated              to       discovery
                                                                                 lead to of admissible
                                                                                            the

evidence. Responding Non-Party IPE will not              be producing         anyone         to       testify.




1074315.1                                         -15-                                                       106
     NON-PARTY RESPONDENT IP         ECHELON'S OBJECTIONS                         TO     DEPOSITION          SUBPOENA             AN
                                    DOCUMENT REQUESTS
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 MATTER FOR EXAMINATION NO.
                         20:
            The efforts and actions taken by IP-Echelon         in    identify
                                                                        order and
                                                                               to locate responsive

 documents and prepare a         witness to provide testimony              in         response         to    this         subpoena.

RESPONSE TO MATTER FOR EXAMINATION                                NO.      20:
            IPE incorporates each and every General Objection              as         though      fully       IPE
                                                                                                                set           forth,

objects to this Matter
                    for Examination to the extent it the
                                                      seeks
                                                         disclosure of confidential and

proprietary information and/or information
                                        protected by the attorney-client privilege and the

work-product doctrine. IPE objects to this Matter Examination
                                                  for         to the
                                                                   extent that it is overly

broad, not reasonably particularized, and therefore           it would be             unduly       burdensome                 and

oppressive and needlessly require IPE       to expend           substantial in resources
                                                                                order tocomply. IPE

objects to this Matter for Examination to the extent
                                               seeks information
                                                        it       not relevant to                             the

subject matter of this litigation or reasonably calculated                to lead         to the          discovery            of

evidence. Responding Non-Patfy IPE will not             be producing            anyone        to testify.

                 RESPONSES AND OB
                                JECTIONS TO DOCUMENT REQUESTS

DOCUMENT REQUEST NO. 1:
            Documents and communications that refer           or relate     to        between
                                                                                         agreements
                                                                                              you and the

RIAA or any Plaintiff that pertain to       Grande, Patriot,
                                                          lawsuit,
                                                              or including
                                                                   this    but not                          limited to

any agreement relating to use of evidence legal
                                            in proceeding
                                                 a        and any agreements relating                                    to

payment or remuneration derived from        an      award        obtained        by     the         RIAA
                                                                                                      legal         or        Plaintiffs

proceeding.

RESPONSE TO DOCUMENT REQUEST                            NO.      1:
            IPE incorporates each and every General Objection              as           though herein.
                                                                                                 fully IPE set                forth,

objects to this Document Request to       the      extenttheitdisclosure
                                                                   seeks of confidential and

proprietary information and/or information protected              by the             attorney-client         privilege           and   t



1074315.1                                        -16-                                                         107
     NON-PARTY RESPONDENT         IP ECHELON'S  OBJECTIONS                      TO      DEPOSITION             SUBPOENA                A
                                     DOCUMENT REQUESTS
Case 2:18-mc-00125 Document 1-9 Filed 09/14/18 Page 19 of 29 Page ID #:127




work-product doctrine. IPE objects to this Document Request to the                            extent overly
                                                                                                       that       it          is

broad, not reasonably particularized,        and therefore it          would             be     unduly          burdensome               and

oppressive and needlessly require IPE           to     expend substantial             resources          in     IPEorder            to

objects to this Document Request to            the      extentinformation
                                                                 it seeks not relevant to subject
                                                                                           the

matter of this litigation or reasonably       calculated to          lead        to the
                                                                                    of admissible
                                                                                           discovery
                                                                                                  evidence.

Responding Non-Party IPE will not             be       producing
                                                           documents.
                                                                 any

DOCUMENT REQUEST NO. 2:
            Documents that refer or   relate
                                           communications
                                              to          between you and the RIAA                               or     any         of

the Plaintiffs concerning Grande, Patriot,         and/or Grande        Subscribers.

RESPONSE TO DOCUMENT REQUEST                                NO. 2:
            IPE incorporates each and every General Objection                as       though        fully        IPE
                                                                                                                  set      forth,

objects to this Document Request        to     theit seeks
                                                      extentthe disclosure of
                                                                           confidential and

proprietary information and/or information             protected by the               attorney-client
                                                                                         privilege and the

work-product doctrine. IPE objects to this Document
                                                 Request to the extent that                          it is overly

broad, not reasonably particularized,       and therefore it           would be               unduly          burdensome             and

oppressive and needlessly require IPE           to     expend substantial             resources          in IPE
                                                                                                              order            to          co

objects to this Document Request
                             to the extent it seeks information not                           relevant        to the     subject

matter of this litigation or reasonably
                                   calculated to lead to the discovery of                           admissible          evidence.

Responding Non-Party IPE will         not     be      producing any documents.

DOCUMENT REQUEST NO. 3:
            Documents that refer or relate to        the considerations           that        informed          your      decision(s)

send (and continue sending) IP-Echelon             Notices to Grande.

RESPONSE TO DOCUMENT REQUEST
                          NO. 3:
            IPE incorporates each and every General Objection               as        though        fully
                                                                                                     herein. IPE
                                                                                                              set forth,



1074315.1                                            -17-                                                         108
     NON-PARTY RESPONDENT          IP ECHELON'S  OBJECTIONS                      TO           DEPOSITION SUBPOENA                        AND
                                      DOCUMENT REQUESTS
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objects to this Document Request to                the     extent        it      seeksof the
                                                                                         confidential
                                                                                               disclosure
                                                                                                      and

proprietary information and/or information                 protected          by the      attorney-client
                                                                                                       and the
                                                                                                             privilege

work-product doctrine. IPE objects to thisDocument Request to the extent
                                                                    that it is overly

broad, not reasonably particularized, and therefore                      it would      be unduly      burdensome          and

oppressive and needlessly require IPEexpend
                                        to substantial resources in order to                                comply.
                                                                                                              IPE

objects to this Document Request
                             to the extent it seeks information
                                                             not relevant to the subject

matter of this litigation reasonably
                          or         calculated to lead to discovery
                                                             the     of admissible
                                                                                 evidence.

Responding Non-Party IPE          will not         be     producing
                                                                documents.
                                                                     any

DOCUMENT REQUEST NO. 4;
            Documents that refer or relate     to        the of
                                                             ability
                                                                the IP-Echelon to observe detect
                                                                                           or

infringement over Peer-to-Peer file           sharing           networks.

RESPONSE TO DOCUMENT
                   REQUEST NO. 4:
            IPE incorporates each and every         General       Objection         as fullythough
                                                                                             set forth, herein.IPE

objects to this Document Request toextent
                                       theit seeks the disclosure of confidential
                                                                            and

proprietary information and/or information                protected           by the      attorney-client     privilege         and   t

work-product doctrine. IPE objects to this Document Requestthetoextent that it overly
                                                                                is

broad, not reasonably particularized, and therefore                      it     would      be unduly        burdensome          and

                                  to expend substantial resources order
oppressive and needlessly require IPE                             in    to comply. IPE

objects to thisDocument Request to           the
                                             extent it seeks information not relevant                     subject
                                                                                                          to the

matter of this litigation or reasonably calculated                  to        lead
                                                                              discovery
                                                                                    to ofthe
                                                                                           admissible evidence.

Responding Non-Party IPE          will not         be producing           any documents.

DOCUMENT REQUEST NO. 5:
            Documents that refer, relate     to,        or constitute         marketing      materials,     business      plans,

whitepapers, product manuals and           specifications,          and other           materials     thatfeatures,
                                                                                                               describe         the



1074315.1                                                -18-                                                    109
     NON-PARTY RESPONDENT IP            ECHELON'S   OBJECTIONS                          TO      SUBPOENA
                                                                                                DEPOSITIONAND
                                       nnrTTMENT REOUESTS
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functionality, capabilities, and operation ofIP-Echelon
                                               the      System.

RESPONSE TO DOCUMENT REQUEST                             NO.           5:
            IPE incorporates each and every General Objection                  as        though     fully set IPEforth,         herein

objects to this Document Request to        the          extentthe itdisclosure
                                                                          seeks of confidential and

proprietary information and/or information protected                    by the        attorney-client
                                                                                                   and the
                                                                                                         privilege

work-product doctrine. IPE objects to this Document Request
                                                       to the extent that is
                                                                          it overly

broad, not reasonably particularized, and therefore               it           would       be      unduly        burdensome          and

                               IPE to expend substantial resources in
oppressive and needlessly require                                                                order
                                                                                                  comply.
                                                                                                       to IPE

objects to this Document Request to        the         extentinformation
                                                                it   seeks
                                                                         not relevant to the                     subject

matter of this litigation reasonably
                           or        calculated to lead to the                      discovery
                                                                                          admissible
                                                                                                of evidence.

Responding Non-Party IPE will not be producing                    any          documents.

DOCUMENT REQUEST NO. 6:
            Documents that refer or relate to        negative     feedback           or the
                                                                                         criticism
                                                                                            IP-Echelon
                                                                                                     ofSystem

and/or IP-Echelon Notices.

RESPONSE TO DOCUMENT REQUEST                             NO.       6:
            IPE incorporates each and every General Objection                      asfully though
                                                                                           set forth, herein.IPE

objects to this Document Requestthe
                                  to extent it seeks the disclosure                        of confidential         and

proprietary information and/or information            protected         by the           attorney-client         privilege      and        t

work-product doctrine. IPE objects to this Document Request
                                                       to the extent that is
                                                                          it overly

broad, not reasonably particularized, and            therefore
                                                           woulditbe unduly burdensome and

oppressive and needlessly require IPE           to     expend          substantial       resources
                                                                                                comply.
                                                                                                    in IPE order                to

objects to this Document Request to        the        extent it             seeks      information         not       relevant         to

matter of this litigation or reasonably calculated to                       lead    to the          discovery            of   admissib

Responding Non-Party IPE         will not be     producing         any         documents.



1074315.1                                        -19-                                                              110
     NON-PARTY RESPONDENT IP ECHELON'S OBJECTIONS                                   TO          DEPOSITION           SUBPOENA
                             DOCUMENT REQUESTS
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DOCUMENT REQUEST NO. 7:
            Documents that refer or relate to flaws, weaknesses,          deficiencies,      inefficiencies,
                                                                                                errors,

lack or absence of features or functionality,         performance      issues, modifications
                                                                                       improvements
                                                                                              or

needed, or any other problem associated with               the   IP-Echelon    System.

RESPONSE TO DOCUMENT REQUEST
                           NO. 7;
            IPE incorporates each and every General Objection
                                                           though
                                                               as fully set forth,
                                                                                herein. IPE

objects to this Document Request to           theit seeks
                                                     extent
                                                          the disclosure of confidential and

proprietary information and/or information           protected by the         attorney-client
                                                                                  privilege and the

work-product doctrine. IPE objects to this Document
                                                 Request to the extent thatis it
                                                                              overly

broad, not reasonably particularized, and therefore it be
                                                       would
                                                          unduly burdensome and

oppressive and needlessly require IPE          to     expend substantial      resources      in      IPEorder          to

objects to this Document Request to           the it seeks
                                                      extentinformation not relevant
                                                                                 to the subject

matter of this litigation or reasonably calculated to               discovery
                                                                    lead to oftheadmissible evidence.

Responding Non-Party IPE will not             be    producing any documents.

DOCUMENT REQUEST NO. 8:
            Documents that refer or    relate to actual, potential, or          alleged      problems,          limitations,

flaws concerning the IP-Echelon System's                  ability copyright
                                                                   to   detect
                                                                            infringement.

RESPONSE TO DOCUMENT REQUEST                              8:
                                                          NO.
            IPE incorporates each and every General Objection as                though
                                                                                 set forth, herein.
                                                                                            fully IPE

objects to this Document Request         to   the it seeks
                                                      extentthedisclosure of confidential and

proprietary information and/or information      protected by the         attorney-client      privilege          and         the

work-product doctrine. IPE objects to this Document Request to                the   extent        that    it    is           over

broad, not reasonably particularized, and therefore it               would    be unduly        burdensome              and

oppressive and needlessly require IPE         to     expend substantial       resources      in      IPEorder           to



1074315.1                                          -20-                                                  111
     NON-PARTY RESPONDENT         IP    ECHELON'S  OBJECTIONS
                                                        TO DEPOSITION SUBPOENA AND
                                       DOCUMENT REQUESTS
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objects to this Document Requestthe
                                  to extent it seeks information
                                                               not relevant to the subject

matter of this litigation
                        or reasonably calculated to lead to            the     discovery     ofevidence.
                                                                                                   admissible

Responding Non-Party IPE will not         be producing         any documents.

DOCUMENT REQUEST NO. 9:
            Documents that refer or relate to    legal    and/orissues,
                                                                   factual
                                                                        deficiencies, or inaccuracies

identified by ISPs regarding IP-Echelon
                                    Notices or the ability
                                                        of the IP-EchelonSystem to detect

copyright infringement.

RESPONSE TO DOCUMENT
                   REQUEST NO. 9:
            IPE incorporates each and every General       Objection      asfully though
                                                                                  set forth, herein.IPE

objects to this Document Request to        the     extent
                                                   seeks the itdisclosure of confidential
                                                                                      and

proprietary information and/or information        protected     by the            attorney-client   privilege    and

work-product doctrine. IPE objects tothis Document Request to extent
                                                               the that it is overly

broad, not reasonably particularized, and therefore            it be unduly
                                                                      would burdensome and

oppressive and needlessly require IPE           to substantial
                                                    expend resources in order to                comply.
                                                                                                  IPE

objects to this Document Request to the          extent       it seeks       information      not
                                                                                              subject relevant    to

matter of this litigation or reasonably calculated
                                                lead to
                                                      to the discovery of               admissible
                                                                                              evidence.

Responding Non-Party IPE will not          be producing         any      documents.

DOCUMENT REQUEST NO. 10:
            Documents that refer or relate to    efforts
                                                  or actions taken by IP-Echelon to             address    or

remedy any-inaccuracies or deficiencies     associated        with    IP-Echelon         Notices.

RESPONSE TO DOCUMENT REQUEST                            NO.    10;
            IPE incorporates each and every General        Objection      as
                                                                           fully set
                                                                                  though
                                                                                     forth, herein.IPE

objects to this Document Request toextent
                                      the it seeks the disclosure confidential
                                                                    of         and

proprietary information and/or information         protected attorney-client
                                                              by    the      privilege and the



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     NON-PARTY RESPONDENT IP           ECHELON'S   OBJECTIONS                TO        DEPOSITION         SUBPOENA
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 work-product doctrine. IPE objects to this Document
                                                 Request to the extent thatis overly
                                                                              it

 broad, not reasonably particularized,      and        therefore it         would         be unduly              burdensome            and

 oppressive and needlessly require to
                                   IPEexpend substantial resources in                             order
                                                                                                     comply.
                                                                                                        to IPE

objects to this Document Request to           the        extent it seeks notinformation
                                                                              relevant to the
                                                                                            subject

matter of this litigation
                        or reasonably calculated to lead to                 the      discovery       of      admissible           evidenc

Responding Non-Party IPE         will not     be        producing       any documents.

DOCUMENT REQUEST NO. II:
            Documents reflecting IP-Echelon's
                                           communications with or regarding                          Rightscorp,           Inc.

RESPONSE TO DOCUMENT REQUEST                               NO.      11;
            IPE incorporates each and every       General Objection             as        though
                                                                                           set forth, herein.
                                                                                                      fully IPE

objects to this Document Request thetoextent it seeks the
                                                        disclosure of confidential and

proprietary information and/or information              protected attorney-client
                                                                   by the         privilege and the

work-product doctrine. IPE objects to this Document Request
                                                       to the extentthat it is overly

broad, not reasonably particularized,       and     therefore      it       would         be unduly              burdensome            and

oppressive and needlessly require IPE             to       expend       substantial order
                                                                                       resources
                                                                                          to comply.in
                                                                                                     IPE

objects to this Document Request thetoextent it seeks
                                                    information not relevant to                             the     subject

matter of this litigation
                        or reasonably calculated to lead to the                   discovery         of       admissible           evidence

Responding Non-Party IPE         will not     be        producing       any documents.

DOCUMENT REQUEST NO. 12:
            Documents reflecting communications         with the        RIAA         or     its      members
                                                                                                        the                concerning

accuracy, viability, errors, or problems          of     or   with        the        IP-Echelon
                                                                                        and/or IP-Echelon
                                                                                                   System

Notices.

RESPONSE TO DOCUMENT REQUEST                               NO.     12:
            IPE incorporates each and every       General Objection as                    though         fully     IPE
                                                                                                                     set      forth,



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     NON-PARTY RESPONDENT          IP    ECHELON'S  OBJECTIONS                       TO      DEPOSITION               SUBPOENA
                                        DOCUMENT REQUESTS
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 objects to thisDocument Request to      the extent
                                               it seeks the disclosure of                confidential and

 proprietary information and/or information         protected       bythe         attorney-client       privilege     and

 work-product doctrine. IPE objects to this Document Request
                                                        to the extent that it overly
                                                                               is

broad, not reasonably particularized, and therefore            it would        be        unduly      burdensome      and

oppressive and needlessly require IPE           to expend       substantial         resources
                                                                                    order        in IPE
                                                                                          to comply.

objects to this Document Requestthetoextent it seeks
                                                   information not relevant
                                                                         to the subject

matter of this litigation
                        or reasonably calculated to          lead to        the ofdiscovery
                                                                                    admissible evidence.

Responding Non-Party IPE will not be             producing          any     documents.

DOCUMENT REQUEST NO. 13:
            Documents relating to or reflecting communications
                                                          between IP-Echelon and

TorrentFreak.com (including but not       limited       to      Ernesto       Van         der     Sar)
                                                                                                   spoofed
                                                                                                         regarding         fake

infringement notices, including those       reflected
                                                   the June
                                                        in 24, 2016article

(https://torrentffeak.com/piracy-phishing-scam-targets-u-s-isps-subscribers-160624/),                  attached      as

Exhibit 1hereto.

RESPONSE TO DOCUMENT
                   REQUEST NO. 13:
            IPE incorporates each and every General          Objection       as      set
                                                                                      though
                                                                                         forth, herein.
                                                                                                 fully IPE

objects to this Document Requestthetoextent it seeks the
                                                      disclosure of confidential and

proprietary information and/or Information protected                by the           attorney-client
                                                                                               and the privilege

work-product doctrine. IPE objects to thisDocument Request to
                                                            the extent that it is overly

broad, not reasonably particularized, and therefore            it      would        be      unduly
                                                                                              and       burdensome

oppressive and needlessly require IPE           to expend       substantial         resources
                                                                                           comply.
                                                                                               in IPE
                                                                                                    order            to

objects to this Document Request toextent
                                      the it seeks information not relevant
                                                                       to the subject

matter of this litigation or reasonably calculated           tothe discovery
                                                                    lead to of admissible evidence.

Responding Non-Party IPE will not          be     producing         any      documents.


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     NON-PARTY RESPONDENT         IP ECHELON'S           OBJECTIONS
                                                              TO DEPOSITION SUBPOENA                     AND
                                     rinr^TtiviFMTnvnTTE'STS;
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DOCUMENT REQUEST NO. 14:
            Documents relating to or reflecting IP-Echelon's                knowledge
                                                                              of fake or spoofed

infringement notices, including but         not      limited or to
                                                                 spoofed
                                                                     fakeIP-Echelon Notices such the
                                                                                                   as

notice reflected in Exhibit 1,          and any      investigation(s) notices.
                                                                        into such

RESPONSE TO DOCUMENT REQUEST
                          NO. 14:
            IPE incorporates each and every General Objection                as fullythough
                                                                                       set forth, herein.IPE

objects to thisDocument Request to the extent
                                         it seeks the disclosure of confidential and

proprietary information and/or information            protected bythe              attorney-client       privilege and    the

work-product doctrine. IPE objects to this Document Request
                                                        to the extent thatit is overly

broad, not reasonably particularized,       and therefore       it         would    be        unduly    burdensome        and

oppressive and needlessly require         IPE to       expend        substantialin order
                                                                                    resources
                                                                                         tocomply. IPE

objects to this Document Request          toextent
                                                theit seeks information not
                                                                        relevant to the subject

matter of this litigation or reasonably        calculated to
                                                           to the discovery
                                                                   lead     of admissible evidence.

Responding Non-Party IPE         will not     be producing           any     documents.

DOCUMENT REQUEST NO. 15;
            Documents relating to or reflecting IP-Echelon's                use      of        digitalthe signatures
                                                                                                          PGP            using

protocol on IP-Echelon Notices and            the    reasons
                                                        their use,
                                                               for including but not limited                to   the

statement in Exhibit 1 ("IPE        notices       are signed or
                                                             with
                                                                ISPs PGP
                                                                     to checkf authenticity").

RESPONSE TO DOCUMENT
                   REQUEST NO. 15:
            IPE incorporates each and every General Objection
                                                         thoughas
                                                                fully set forth,
                                                                              herein. IPE

objects to this Document Request          toextent
                                                theit seeks the disclosure confidential
                                                                            of          and

proprietary information and/or information            protected by the                  attorney-clientthe privilege      and

work-product doctrine. IPE objects to this Document Request
                                                       to the extentthat it is overly

broad, not reasonably particularized,       and therefore       it          would        be       unduly     burdensome



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     NON-PARTY RESPONDENT          IP    ECHELON'S  OBJECTIONS                     TO      SUBPOENA
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                                                                                                    AND
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 oppressive and needlessly require IPE        to expend     substantial in order
                                                                           resources
                                                                                 to comply.IPE

objects to this Document Request     toextent
                                           theit seeks information
                                                                 not relevant to the subject

matter of this litigation or reasonably calculated to          lead    to of admissible
                                                                             the    discovery
                                                                                         evidence.

Responding Non-Party IPE     will not    be     producing    any      documents.



                                              BROWNE GEORGE ROSS LLP



                                                      /s/Maribeth Annaguey
                                              Maribeth Annaguey, (California Bar No.:
                                                                                  228431)
                                                maxmaguey@bgrfirm.com
                                              KathrynE. Stuart, (California Bar No.: 320540)
                                                kstuart@bgrfirm.com
                                              2121 Avenue of the Stars, Suite
                                                                           2800
                                              Los Angeles, California 90067
                                              Phone (310) 274-7100
                                              Fax (310) 275-5697

                                           Attorneys for Non-Party Respondent          IP Echelon




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     NON-PARTY RESPONDENT     IP    ECHELON'S   OBJECTIONS             TO     SUBPOENA
                                                                               DEPOSITION
                                                                                        AND
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                                      PROOF OF SERVICE

                           UMG RECORDINGS, INC., et al. v.
                    GRANDE COMMUNICATIONS NETWORKS LLC,                       et    al.
                              Case No. l:17-cv-365-LY

STATE OF CALIFORNIA, COUNTY                  OF LOS       ANGELES

      At the time ofservice, I was over 18 years of
                                                 age and not aparty to this action. I am
employed in the County of Los Angeles, State of My        California.
                                                            business address is 2121
Avenue of the Stars, Suite 2800, Los Angeles, CA           90067.

       On June 22, 2018,1served true copies of the following        document(s)
                                                                         described as NON­
PARTY RESPONDENT IP ECHELON'S OBJECTIONS                            TO     DEPOSITION
                                                                               SUBPOENA
on the interested parties in action
                              this as follows:

                                SEE ATTACHED SERVICE LIST

       BY MAIL: I enclosed the document(s) in a envelope   sealed or package addressed to        the
persons at the addresses
                       listed in the Service List and placedthe envelope for collection
                                                                                      and
mailing, following our ordinary business practices.I am readily familiar with the practice
                                                                                        of
Browne George Ross LLP for collecting and processing correspondence    for mailing. On the
same day that correspondence is placedfor collection and mailing, it      is deposited
                                                                                  the ordinary
                                                                                          in
course of business with the United States Postal in Service,
                                                           a sealed envelope with postagefully
prepaid. I am a residentor employed in the county where mailingthe occurred. The envelope
was placed in the mail at Los Angeles, California.

       I declare under penalty of perjury under the     laws
                                                         United of
                                                                 States the
                                                                         of America
                                                                                  that the
foregoing is true and correct
                           and that I am employed in the office
                                                              a member
                                                                     of of the bar this
                                                                                     of
Court at whose direction the service was made.

            Executed on June 22, 2018,
                                   at Los Angeles, California.




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     NON-PARTY RESPONDENT         IP ECHELON'S      OBJECTIONS      TO    DEPOSITION       SUBPOENA    A
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                             SERVICE LIST
                      UMG RECORDINGS, INC., et al. v.
               GRANDE COMMUNICATIONS NETWORKS LLC,                            et   al.
                         Case No. l:17-cv-365-LY

Daniel C. Bitting, Esq.                         Attorneys for Plaintiffs
Paige A. Amstutz, Esq.
SCOTT DOUGLASS & McCONNICO                  LLP
303 Colorado Street, Suite 2400
Austin, Texas 78701
Telephone:    (512)495-6300
Facsimile:    (512)495-6399
Emails:       dbitting@,scottdoug.com
              pamstutz@scottdoug.com

Pat A. Cipollone, P.C. (pro hac vice forthcoming)
Jonathan E. Missner {pro hac vice forthcoming)
Robert B. Gilmore (pro hac vice forthcoming)
Philip J. O'Beirne{pro hac vice forthcoming)
STEIN MITCHELL CIPOLLONE BEATO &
MISSNER LLP
1100 Connecticut Ave., NW, Suite 1100
Washington, DC 20036
Telephone:    (202) 737-7777
Facsimile:    (202)296-8312
Emails:       pcipollone@steinmitchell.com
              i missner@,steinmitchell.com
              rgilmore@steinmitchell.com
              pobeirne@steinmitchell.com

Nicholas B. Clifford, Esq.
GRANDE COMMUNICATIONS
NETWORKS LLC
7700 Forsyth Blvd., Suite 1800
St. Louis, MO 63105
Telephone:    (314)259-4711
Email: nclifford@armstrongteasdale.com




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